  Case 4:22-cv-00343-Y Document 75 Filed 02/22/23                   Page 1 of 22 PageID 1741



                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF TEXAS
                                FT. WORTH DIVISION


 ROBERT (BOB) ROSS                              §
 Plaintiff,                                     §
                                                §
                                                §
                                                §
                                                §
                                                §       Case No. 4:22-CV-00343
                                                §
 V.                                             §
                                                §
 ASSOCIATION OF PROFESSIONAL                    §
 FLIGHT ATTENDANTS,                             §
 MCGAUGHEY, REBER AND                           §
 ASSOCIATES, INC., JULIE                        §
 HEDRICK,ERIK HARRIS                            §
 Defendants.                                    §

                      PLAINTIFF’S FIRST AMENDED COMPLAINT

       NOW COMES ROBERT (BOB) ROSS, Plaintiff, in the above-entitled and numbered

cause, and files this Plaintiff’s Original Complaint, and shows the Court:

                                    I.      INTRODUCTION

       1.      This action seeks redress for unlawful debt collection practices of the Fair Debt

Collection Practices Act 15 U.S.C. §§1692 d, e, and f et seq {hereinafter "FDCPA"), violations for

the Fair Credit Reporting Act 15 U.S.C. 1681s-2 (a)(1)(A) and (B) (hereinafter “FCRA”), and the

Labor Management Reporting and Disclosure Act (“LMRDA”), 29 U.S.C. §§101(a)(5) 412 and

609, and damages resulting from various torts brought under state law including intentional

interference with a contract, defamation, and intentional infliction of emotional distress.

       2.       In 2016, Plaintiff was elected APFA National President shortly after American

Airlines and US Airways merged. Out of this merger grew the notion and political debates over a


                          PLAINTIFF’S FIRST AMENDED COMPLAINT - Page 1 of 22


                                                                                     Exhibit A
  Case 4:22-cv-00343-Y Document 75 Filed 02/22/23                     Page 2 of 22 PageID 1742



merger between the two flight attendants’ labor unions with the Association of Flight Attendants-

Communication Workers of America (“AFA”) on one side—the union that represented US Airways

flight attendants among others; on the other side, the Association of Professional Flight Attendants

—a labor union that exclusively represents American Airlines flight attendants. A power struggle

ensued between those that supported a merger of the two unions—AFA and APFA (“AFA/APFA”)—

and those that opposed a merger between AFA and APFA. Supporters of the AFA/APFA merger

have now infiltrated APFA with the intent to take over a achieve a merger of the two unions. The

result has been the use of APFA’s Disciplinary Procedures to victimize any union member outspoken

against a merger between AFA and APFA. Violations of APFA members’ rights have ensued in

pursuit of the AFA/APFA merger agenda under federal and Texas state law as well as intentional

tortious violations that resulted in damages to the Plaintiff and his family.

                                          II.      PARTIES


        3.      Plaintiff, Bob Ross (“Ross”) was employed with APFA in the state of Texas and a

                citizen of Texas during his employment. His current primary residence is in the State

                of California; however, all events pertinent to the claims contained herein occurred

                within the state of Texas. His primary residence is 4701 Hayloft Ct., El Dorado Hills,

                CA 95762.

        4.      Defendant, McGaughey, Reber and Associates, Inc d/b/a Diversified Credit Systems

                (“Diversified”), is the assignee of a termination contract between Ross and the

                Association of Professional Flight Attendants (“Transition Agreement”).             Its

                registered agent for service of process is M S. McGaughey located at 2200 Jahan Trail,

                Longview, Texas 75604. This company is engaged in the collection of debts using

                the mail and the telephone.     Diversified is an entity whose principal purpose is the

                            PLAINTIFF’S FIRST AMENDED COMPLAINT - Page 2 of 22


                                                                                       Exhibit A
Case 4:22-cv-00343-Y Document 75 Filed 02/22/23                Page 3 of 22 PageID 1743



          collection of any debts. The Defendant regularly attempts to collect consumer debt

          alleged to be due to another and are “debt collectors’ as defined by FDCPA, 15 U.S.C.

          § 1692(a)(6).

    5.    Defendant, Association of Professional Flight Attendants (“APFA”) is the original

          party to the Plaintiff’s Transition Agreement, which formed the basis of the original

          claim. This claim gave rise to this lawsuit and may be served by and through its

          current National President, Julie Hedrick at APFA headquarters at 1004 W. Euless

          Blvd, Euless, Texas 76040.

    6.    Defendant, Julie Hedrick, (“Hedrick”) is the National President of APFA and can be

          served at her place of employment at APFA headquarters 1004 W. Euless Blvd,

          Euless, Texas 76040 or at her place of residence 3231 Del Monte Court, Fairfield, CA

          94534.

    7.    Defendant, Erik Harris (“Harris”) is the National Treasurer of APFA and can be

          served at his place of employment at APFA headquarters 1004 W. Euless Blvd,

          Euless, Texas 76040.

                          III.   JURISDICTION AND VENUE

    8.    Plaintiff files with this Complaint in the Northern District Federal Court - Fort Worth

          Division based on Federal Question and Diversity between the Parties in this suit.

    9.    Plaintiff brings claims under jurisdiction of this action which is conferred on this

          court by virtue of the Fair Credit Reporting Act 15 U.S.C. 1681s-2 (a)(1)(A) and

          (B), Fair Debt Collection Practices Act 15 U.S.C. §§1692 d, e, and f, and the Labor

          Management Reporting and Disclosure Act, 29 U.S.C. §§101(a), 412 and 609.




                     PLAINTIFF’S FIRST AMENDED COMPLAINT - Page 3 of 22


                                                                                 Exhibit A
   Case 4:22-cv-00343-Y Document 75 Filed 02/22/23                   Page 4 of 22 PageID 1744



        10.    The amount in controversy exceeds $75,000 the Defendants conduct business in

               Texas, while the Plaintiff is a former citizen of Texas at the time, all facts that gave

               rise to the claims contained herein, occurred in the State of Texas.

                              IV.     CONDITIONS PRECEDENT

        11.    All conditions precedent to Plaintiff’s recovery against Defendants have been fully

               performed, have occurred, or have been waived or excused.

                               V.      FACTUAL BACKGROUND

A.      Bob Ross was elected by the Membership in April of 2016 to serve as President of the
        Association of Professional Flight Attendants’ Union.

        12.    Ross was elected shortly after American Airlines and US Airways merged. This

created a power struggle between the labor unions for the Flight Attendants. A power struggle ensued

between those APFA members that supported a merger of the two unions (“AFA/APFA”), and those

that opposed an AFA/APFA-merger.           The result is AFA/APFA supporters infiltrating APFA

leadership roles, and their subsequent use of APFA’s Disciplinary Procedures as a method of

victimizing Plaintiff, and others that opposed such a merger in an effort to silence the opposition.

        13.    At the APFA Annual Conference on February 28, 2018 - March 3, 2018, APFA BOD

encouraged Ross to step down from his role as many endured a lot of questions from AFA/APFA

members about the Chinery-Burns’s petition and campaign for Ross’s resignation. Fear of retaliation

led many Board members to support Ross’s resignation.

B.      Ross negotiated, signed a transition agreement, and reluctantly surrendered his
        Presidential position, but was subsequently voted back on by the APFA BOD in April
        of 2021.

        14.    Ross conceded his position as President of APFA after negotiating on the following

conditions:



                           PLAINTIFF’S FIRST AMENDED COMPLAINT - Page 4 of 22


                                                                                        Exhibit A
  Case 4:22-cv-00343-Y Document 75 Filed 02/22/23                    Page 5 of 22 PageID 1745



   •   Ross would be paid outside of APFA policy—which provides that unused Sick and Vacation
       Days may be paid to officers according to a Per Diem Calculation of Annual Salary divided
       by 365.
   •   Ross would be paid all accrued unused vacation time—rather than be limited to only the 14
       days provided for under APFA policy;
   •   Ross would be paid all unused accrued sick time—rather than be limited to only the 12 days
       provided for under the APFA policy;
   •   Ross would no longer be a target for undue harassment and open hostility by any of the
       APFA/AFA members through a binding non-disparagement clause;
   •   Ross would be entitled to his privacy under the terms of the Transition Agreement with a
       Confidentiality clause; and
   •   Ross would be entitled to moving expenses back to California in the amount of $10,000.

Ross’s transition agreement, encapsulating these conditions, was drafted, and signed on March 1,

2018 (“Transition Agreement”). A true and correct copy of the Transition Agreement is attached

hereto and incorporated herein for all purposes and marked as Exhibit A-1 (See Ross Aff., Ex. A-1).

       15.     In 2021, Ross was duly elected to APFA’s BOD where he, again, stood as a voice

against the AFA/APFA merger. This was a threat to the AFA/APFA members who crept deeper into

key roles within APFA’s organizational structure—eventually leading to the election of APFA’s

National officers: National President, Julie Hedrick; National Vice-President, Larry Salas, National

Treasurer, Erik Harris, and as the National Secretary, Josh Black.

       16.     On or about March of 2019, AFA/APFA members Chinery-Burns and Sandra Lee

(“Lee”) launched an investigation into Ross, the officers that served with him, and his supporters.

With the assistance of Harris, the APFA National Treasurer, Chinery-Burns and Lee began to scour

all financial records from his presidency in search of any impropriety. The APFA National Officers

granted Chinery-Burns and Lee access to Ross’s confidential Transition Agreement, including

financial documents that disclosed his personally identifiable information. Thereafter, Chinery-Burns

and Lee filed additional charges against Ross and those within his administration. Again, these APFA

elected officials could either fight the charges in arbitration or retire their career from American




                           PLAINTIFF’S FIRST AMENDED COMPLAINT - Page 5 of 22


                                                                                      Exhibit A
  Case 4:22-cv-00343-Y Document 75 Filed 02/22/23                    Page 6 of 22 PageID 1746



Airlines as flight attendants—a bold and blatant attempt to take over key APFA leadership positions

and silence any opposition to an AFA/APFA merger.

C.     In November of 2020, Erik Harris, APFA’s National Treasurer, sent a demand for an
       alleged debt Ross owed for $5,436.37.

       17.       On November 24, 2020, Harris wrote a letter to Ross demanding payment for a debt

he allegedly owed to APFA (“Overpayment-of-Wages Letter”). A true and correct copy of the

Overpayment-of-Wages Letter is attached hereto as Exhibit A-2. (See Ross Aff., Ex. A-2). The

following alleged factual assertions were made in the Overpayment-of-Wages Letter by Mr. Harris:

                     i. The APFA BOD had met and declared in a finding that Ross was overpaid in
                        the amount of $5,436.47 under his Transition Agreement in 2018 (See Ross
                        Aff., Ex. A-2).

                    ii. The APFA BOD’s findings were based on a review from an independent
                        accounting firm (See Ross Aff., Ex. A-2).

                   iii. This independent accounting firm “determined that the formula used to
                        determine the daily rate for [Ross’s] sick and vacation payout was incorrect”
                        (See Ross Aff., Ex. A-2).

       Every single factual assertion outlined above is false.

       18.       Harris included and referenced scheduled attachments to the Overpayment-of-Wages

Letter marked as A, B and C (See Ross Aff., Ex. A-2) (“Schedules”). The attached Schedules outline

the following:

                       i. Schedule A: the calculation of Ross’s Per Diem calculation per the APFA
                          Policy—annual salary divided by 365;

                      ii. Schedule B: an outline of payments made in 2018 for unused Vacation and
                          Sick Days in accordance with the Transition Agreement; and

                     iii. Schedule C: a final spreadsheet asserted that the amount Ross was paid and
                          then subtracted the APFA-Policy Per Diem multiplied by the correct APFA-
                          Policy capped twelve (12) Sick Days per year and the maximum amount of
                          his unused Vacation Days (See Ross Aff., Ex. A-2).




                           PLAINTIFF’S FIRST AMENDED COMPLAINT - Page 6 of 22


                                                                                      Exhibit A
  Case 4:22-cv-00343-Y Document 75 Filed 02/22/23                    Page 7 of 22 PageID 1747



        19.     The per diem calculation used for Ross’s original 2018 payout included his normal

monthly stipends paid to all APFA officers for their Meal Expense Allowance (“MEA”) and Special

Assignment Fee (“SAF”) and Maintaining an Office Outside Residence—a stipend often included

when one takes vacation and sick leave. The difference between the two per diem calculations resulted

in an alleged overpayment of $5,436.37 (See Ross Aff., Ex. A-2). There is no explanation as to why

no payment was made for the additional Sick Days as he was entitled to those paid days as well.

        20.     Nothing in the Overpayment-of-Wages Letter indicates these Schedules were the

product of an audit or a formal review by an independent accounting firm (See Ross Aff., Ex. A-2).

Ross was never given any independent accounting firm’s name or information to verify these

calculations or any other information to validate these schedules, despite asking for a copy of the full

report in the conversation Ross and Harris had, as referenced in this letter. (See Ross Aff., Ex. A,

containing true and correct copies of email exchanges with APFA BOD requesting verification of

debt; all documents are marked as Exhibit A-6). By the middle of February 2021, he discovered the

debt had been sold to Diversified, after which Diversified filed suit against Ross to collect the debt.

D.      On January 14, 2022, Diversified Credit Systems filed suit against Ross for the same
        debt Lee and Chinery-Burns already filed Article VII charges to collect—except
        Diversified’s Petition included a letter from the APFA’s accounting firm stating its
        opinion that Ross was paid correctly and does not owe this debt.

        21.     After the APFA Article VII Arbitration concluded, Diversified filed suit against Ross

for breach of contract to collect the same $5,436.47 debt Chinery-Burns and Lee pursued in

arbitration. Upon review of the petition, Ross realized that Julie Hedrick, Erik Harris, and others in

the current APFA Administration withheld documents prior to and during the APFA Article VII

Arbitration that would have exonerated him.

        22.     More specifically, Diversified Credit Systems included as Exhibit B to its original

petition a letter from Wood, Stephens & O’Neil, L.L.P., an accounting firm. This letter describes that


                           PLAINTIFF’S FIRST AMENDED COMPLAINT - Page 7 of 22


                                                                                         Exhibit A
  Case 4:22-cv-00343-Y Document 75 Filed 02/22/23                     Page 8 of 22 PageID 1748



APFA retained Woods, Stephens & O’Neil, L.L.P. to conduct an informal review of Bob Ross’s

confidential Transition Agreement—a certified copy of Diversified’s Original Petition, including

Diversified’s Exhibit B attached to its original petition, is attached hereto, and incorporated herein for

all purposes (“Confidential Memo”) See Diversified Original Pet., Ex. B). The Confidential Memo

from the APFA Accounting Firm outlines the following pertinent facts:

               i. That APFA officers, the APFA staff attorney, and APFA’s outside counsel requested
                  an informal review of Bob Ross’s confidential Transition Agreement.

              ii. That these officers and attorneys requested the preparation of an overpayment
                  schedule of accrued and unused Sick and Vacation-Day payments made to Bob Ross
                  in 2018—similar to the overpayment schedules previously prepared for three other
                  officers. These overpayment schedules used the APFA Policy to calculate the per
                  diem rate of pay for each officer and capped payout for Vacation and Sick Days
                  according to APFA Policy.

              iii. The most important aspect of the letter states “Please note the Bob Ross
                 confidential transition agreement states that he will be paid all of his
                 accrued and unused sick, and accrued and unused vacation time. This
                 agreement doesn’t [sic] specify that the payments be made in accordance
                 with the policy manual guidelines. Consequently, these payments appear
                 appropriate and in compliance with the transition agreement.”

              iv. Ross was granted moving expenses up to $10,000 for which he did not use all of
                  these funds.” (See Diversified’s Original Pet., Ex. B).

        23.     This Confidential Memo directly contradicts the facts laid out by Harris in the

Overpayment-of-Wages Letter to Ross—the accounting firm did not determine that the

formula used to pay Ross’s sick and vacation days was incorrect. In fact, the Confidential

Memo confirms that Ross was paid correctly under the Transition Agreement since he was to be paid

outside of APFA policy. This Confidential Memo names those that made the request and those that

received notice of this letter: the APFA officers, and in-house and outside counsel. (See Diversified’s

Original Pet., Ex. B).




                            PLAINTIFF’S FIRST AMENDED COMPLAINT - Page 8 of 22


                                                                                          Exhibit A
  Case 4:22-cv-00343-Y Document 75 Filed 02/22/23                   Page 9 of 22 PageID 1749



       24.     Furthermore, Diversified sent Ross a verification-of-debt letter that included the

Overpayment-of-Wages Letter (“VOD letter”). (See Ross Aff., Ex. A-3). A true and correct copy of

the VOD letter is attached hereto and incorporated herein and marked as Exhibit A-3. The

Confidential Memo directly contradicts the language of the VOD letter. (See Ross Aff., Ex. A-3).

       25.     A request for Schedules that misrepresent the characterization of payments made to

Ross is an attempt to acquire seemingly valid documents that the union could otherwise use to

implicate Ross in over-payments to himself upon leaving office. APFA officers and their attorneys

however, concealed this letter and used only the Schedules, cited the accounting firm’s “review” as

though it were an audit, and misrepresented that the accounting firm found that Ross was overpaid.

As a direct result of these misrepresentations the APFA officers disparaged, harassed, and charged

Ross under the APFA Article VII Constitution and pursued damages. The APFA officers and

attorneys, in particular Hedrick and Harris, submitted the Schedules to the APFA BOD, and the APFA

EC to mar his reputation with APFA membership. The APFA General Counsel, Margot Nikitas,

(copied on both of these letters) was present at the December 1, 2020 EC meeting where Ross’s

Article VII charges were reviewed, as well as every day of Ross’s Arbitration proceedings—yet she

never raised the accounting firm’s true findings to the Arbitrator, the APFA BOD, or the APFA EC.

       26.     The Overpayment-of-Wages Letter further misrepresented that the APFA BOD found

that Ross was overpaid by $5,436.47 in 2018—a fact later relied on by the Arbitrator to rule against

Ross and fine him $27,631.60 in damages (See Martin Aff., Ex. C). Nena Martin (“Martin”), an APFA

Board member during 2011 and 2021, was present at both the APFA BOD meeting on October 27

and 28 of 2020, which addressed many of the issues related to Ross’s charges, and the APFA EC

meeting on December 1, 2020. (See Ex. C, Martin Aff.). Martin attests that she never participated in

or knew of any finding from the BOD that Ross owed the $5,436.47 debt or that his per diem rate was



                          PLAINTIFF’S FIRST AMENDED COMPLAINT - Page 9 of 22


                                                                                     Exhibit A
 Case 4:22-cv-00343-Y Document 75 Filed 02/22/23                    Page 10 of 22 PageID 1750



miscalculated based on these Schedules. (See Martin Aff., Ex. C). Moreover, the APFA BOD no

formal finding was ever recorded in any meeting minutes, resolutions, and actions by the AFPA BOD

during the Fall of 2020. The APFA BOD never discussed this account, reviewed this Confidential

Memo from the accounting firm, nor did the APFA BOD ever find that Ross was overpaid. No formal

vote was ever held, and no formal action by the APFA BOD was ever taken as far as the record shows.

       27.     Nena Martin also attended the EC meeting on December 1, 2020 where Ross’s Article

VII charges were found timely, valid, and specific. Martin attests that neither the Confidential Memo

nor its contents were ever presented or disclosed to the EC prior to voting. (See Ex. C, Martin Aff.).

Martin only attests that the BOD and the EC were presented with spreadsheets, similar to those

attached to the Overpayment-of-Wages Letter and told that an accounting firm prepared them as a

result of a formal review and found Ross had been overpaid. (See Ex. C, Martin Aff.). It can only be

presumed that the APFA Officers and their counsel deliberately withheld the information and

misrepresented the facts to ensure that Ross and his supporters were removed from the APFA

leadership positions.

E.     APFA BOD and the APFA EC held that the charges brought against Ross for fraud and
       misappropriations were valid and referred the case to APFA’s internal Arbitration
       Proceedings per the APFA’s Constitution.

       28.     Once an Article VII charge is filed by a member, at the first regularly scheduled

meeting of the APFA Executive Committee (“APFA EC”), the EC reviews the charges for its

timeliness, specificity, and validity. If the charges are found to be timely, valid, and specific, the

charged party is then served notice and the matter proceeds to arbitration. The charged party escapes

a judgment by either winning at arbitration or if the charged member retires or resigns from American

Airlines while the charges are pending, then the charges are dismissed. It is not difficult to see how

abuse of APFA’s Constitutional Article VII Disciplinary Procedures could thwart the democratic



                          PLAINTIFF’S FIRST AMENDED COMPLAINT - Page 10 of 22


                                                                                      Exhibit A
 Case 4:22-cv-00343-Y Document 75 Filed 02/22/23                    Page 11 of 22 PageID 1751



process of an election and victimize the very members the union seeks to protect. APFA’s

Constitutional Article VII Disciplinary Procedures are launched to institute a culture of silence and

obedience, and has been used to eliminate any opposition to a merger between the two unions.

       29.     Unbeknownst to Plaintiff, Chinery-Burns and Lee filed Article VII charges against

Ross on November 18, 2020 for violations of misuse of his credit card, and overpayment under the

Transition Agreement among other complaints. These charges were based, in part, on payments made

under the Transition Agreement. The APFA EC held a meeting on December 1, 2020 and voted that

the charges were valid and timely before Ross ever received notice of the Article VII charges.

Arbitration Proceedings were initiated per Article VII without Ross ever receiving proper notice, an

opportunity to review any evidence, or an opportunity to be heard by the APFA BOD or the APFA

EC. Ross was left with only one of two choices: he could resign from AA under a cloud of suspicion

or proceed to arbitration in the hope he would win and restore his reputation—he chose the latter out

of fear that he would not be rehired elsewhere under suspicion of impropriety.

       30.     Discipline procedures conducted by the APFA, from start to finish, were fraught with

due process violations that ran the spectrum—from lack of proper notice that charges were filed to

unequal time for presentation of arguments to the exclusion of relevant and exculpatory evidence.

This arbitrator lacked authority to hear these charges. These charges were brought well beyond the

60-day limitations period required by the APFA Constitution. Ross also served subpoenas on the

APFA President, Julie Hendrick and the National Secretary, Josh Black—both refused to appear,

testify, or produce any documents.      Ross requested all documentation related to this alleged

overpayment-of-wages debt be produced including all financial documentation related to the Ross

Account in Collections with Diversified Credit. Lee, Chinery-Burns, and Harris served a large

amount of documentation to Ross the day of trial in a disorganized mess, and yet no sanctions or



                          PLAINTIFF’S FIRST AMENDED COMPLAINT - Page 11 of 22


                                                                                      Exhibit A
 Case 4:22-cv-00343-Y Document 75 Filed 02/22/23                      Page 12 of 22 PageID 1752



exclusion of those documents were ordered by the Arbitrator, as would be standard in any other

official judicial proceeding. Most notably, Harris, the APFA National Treasurer, failed to produce

any documents related to the debt demanded in the Overpayment-of-Wages Letter or any

documentation from the accounting firm cited in this letter.

        31.     The Arbitrator disallowed Ross from questioning Harris about his Transition

Agreement and payments made thereunder. Many of the charges brought against Ross pertained to

expenses charged to the union for a rental vehicle, meals and expenses related to union business,

furniture he purchased for an APFA apartment he used while splitting his time between Dallas-Fort

Worth and California. Yet the arbitrator failed to consider the evidence showing Ross reimbursed

APFA for this furniture. Speculation persisted about credit card receipts for small gift cards he bought

as a “thank you” to give the flight attendants that worked flights he took, or charges for in-flight

internet use on business-related flights. These were the types of charges brought into question three

to five years after the charges were incurred, authorized and approved. APFA Constitutional limits

to bring charges are 60-day from the time “after the accuser becomes aware, or reasonably should

have become aware, of the alleged offense.” (APFA Const. Art. 7 Sec. 2 (D)(1)). The procedure

during 2016-2018 was to submit expenses to the APFA Treasurer who reviewed and approved

expenses as valid. The Treasurer during Ross’s administration was Eugenio Vargas, who reviewed

and approved all of Ross’s charges and expenses during his term and never knew Ross to conduct

any illegal or illicit charges to the union. (See Vargus Aff. 1-2).

        32.     The Arbitrator prevented Ross from admitting any evidence relating to Vargas’s

review and verification of his charges, payments and expenses that were paid per procedure. (See

Ross Aff., Ex. A-10, Arbitration Tr. Vol. 2, 192-194). Ross was also not allowed to question Harris

over the calculations for his payout nor the review by the accounting firm, nor discuss the assignment



                           PLAINTIFF’S FIRST AMENDED COMPLAINT - Page 12 of 22


                                                                                        Exhibit A
 Case 4:22-cv-00343-Y Document 75 Filed 02/22/23                     Page 13 of 22 PageID 1753



of the Transition Agreement to Diversified,. Thus Ross could not argue APFA’s lack of standing to

collect on an account assigned to a third party since the Arbitrator took over questioning the witness

(See Ross Aff., Ex. A-10, Arbitration Tr. Vol. 2, 212-214). The Arbitrator even allowed Harris to

testify as an accountant. Harris did nothing to correct the record and clarify that he does not, in fact,

hold any certification as a public accountant (See Ross Aff., Ex. A-11, Arbitration Tr. Vol. 3, 185,216-

218). Chinery-Burns was given more than eight hours over two days to present her case to the

Arbitrator; Ross had less than three hours to present his defense and witnesses—most ignored his

subpoenas, and yet the Arbitrator made no effort to enforce these subpoenas or even require

attendance during an arbitration hearing where Ross’s reputation, career, and property interests were

at stake (See Ross Aff., Ex. A-10, Arbitration Tr. Vol. 2, and Ex. A-11, Arbitration Tr. Vol. 3).

        33.     An arbitration award was issued on March 19, 2022, a true and correct copy of

the final Arbitration Award is attached hereto an incorporated herein and marked as Exhibit A-

12 (“Arbitration Award”). The Arbitrator relied on evidence presented by Chinery-Burns and Lee

that Ross was guilty of breach of fiduciary duty, misappropriation of funds, and fraud citing the

same misrepresentations reflected in Harris’s Overpayment-of-Wages Letter:

        “With respect to sick and vacation payout, the APFA Board of Directors has determined
        that Defendant Ross was overpaid in the amount of $5,436.47 in 2018 [and]. . . . [t]he
        Board’s finding was based on the results of a review from an independent accounting
        firm which determined that the formula used to determine the daily rate for your sick
        and vacation payout was incorrect. . . .[i]t is therefore arbitrator’s Opinion, Defendant
        Ross has failed and abused his Fiduciary Duty. The non-payment of these monies reveals
        Defendant Ross is not accepting this responsibility” (Ross Aff., Ex. A-12, Arbitration
        Award, March 19, 2022, 21-24).

        These are misrepresentations, and yet because Harris testified to them as factual, the Arbitrator

found it truthful without giving Ross the opportunity to show evidence to the contrary.

F.      APFA’s internal Arbitration resulted in a windfall award against Ross that held Ross
        liable for all charges Chinery-Burns brought against him, and Ross is now charged with
        over $27,631.60 in charges and fees by APFA for the cost of an unfair arbitration.



                           PLAINTIFF’S FIRST AMENDED COMPLAINT - Page 13 of 22


                                                                                         Exhibit A
 Case 4:22-cv-00343-Y Document 75 Filed 02/22/23                       Page 14 of 22 PageID 1754



       34.     Upon discovering the Confidential Memo, Ross’s union representative appealed to

the Arbitrator to reopen the arbitration and submit this evidence. The Arbitrator denied this request—

despite the document’s exculpatory nature, Harris’ concealment of it from the APFA BOD and EC—

who voted and deemed the Article VII charges valid—and APFA’s lack of disclosure of this

document and others during the Arbitration. The Arbitrator did not find the evidence pertinent to any

of the charges brought against Ross, then proceeded to find him guilty of fraud, misappropriation of

funds, and breach of a fiduciary duty, and rendered an arbitration award in favor of Chinery-Burns

and Lee for at least $27,631.60.

       35.     When the arbitrator rendered the award, the result was a windfall against Ross, for

which an entire day passed before he was ever served with the verdict. The arbitrator ignored any

evidence that Ross previously paid for the furniture charged on the company card. The arbitrator

further ignored any evidence that all charges were filed outside of the 60-day window required by the

Art. 7, Sec. 2(D)(1) of the APFA Constitution. This would mean that the charges were not timely

filed with the union, and thus Chinery-Burns and Lee were prohibited from filing their charges before

ever being heard by the Executive Committee.

               VI.     CLAIM: LABOR MANAGEMENT REPORTING AND
                           DISCLOSURE ACT VIOLATIONS

       36.     Plaintiff incorporates all preceding paragraphs above.

       37.     Under 29 U.S.C. §411 states that “[a]ny person whose rights secured by the provisions of

               this title have been infringed by any violation of this title may bring a civil action in a

               district court of the United States for such relief (including injunctions) as may be

               appropriate. Under 29 U.S.C §529 states that [i]t shall be unlawful for any labor

               organization, or any officer, agent, shop steward, or other representative of a labor

               organization, or any employee thereof to fine, suspend, expel, or otherwise discipline any


                           PLAINTIFF’S FIRST AMENDED COMPLAINT - Page 14 of 22


                                                                                             Exhibit A
Case 4:22-cv-00343-Y Document 75 Filed 02/22/23                  Page 15 of 22 PageID 1755


          of its members for exercising any right to which he is entitled under the provisions of this

          chapter.” Any such action against a labor organization shall be brought in the district

          court of the United States for the district where the alleged violation occurred, or where

          the principal office of such labor organization is located.” This act provides that no

          member of any labor organization may be fined in any way except for nonpayment of

          dues, unless notice, an opportunity to prepare a defense and a full and fair hearing is

          given to the person (29 U.S.C. §411 (a)(5)).

    38.   Defendant, APFA, claimed that the APFA BOD found that Plaintiff, Ross, owed

          $5,436.37, in the Overpayment-of-Wages Letter, which is a violation of this section

          of the LMRDA §411(a)(5), as Plaintiff never received proper notice, due process

          or a full and fair hearing before being assessed with a fine or fee. There is no

          requirement for anyone not living within 150 miles of the arbitration site to comply

          with subpoenas, however most of the flight attendants live outside the state.

          Furthermore, restriction of documents and document discovery cannot be

          compelled by the charged-party, and thus restricting financial documents can

          become a basis for APFA to deny request for documents subject to Arbitration

          proceedings. It is a violation of LMRDA to not offer a full and fair hearing on the

          matter, and yet a charged party is not entitled to compel the evidence needed to

          absolve oneself. Further, it is a violation of LMRDA to conceal the full financial

          documents associated with the accounting firm’s review of Ross’s debt and conceal

          the letter from the APFA accounting firm finding Plaintiff was paid correctly under

          the terms of his Transition Agreement by Defendant, APFA.

    39.   Under 29 U.S.C. §411 (a)(2) states that “[e]very member of any labor organization

          shall have the right to meet and assemble freely with other members; and to express


                     PLAINTIFF’S FIRST AMENDED COMPLAINT - Page 15 of 22


                                                                                      Exhibit A
Case 4:22-cv-00343-Y Document 75 Filed 02/22/23                 Page 16 of 22 PageID 1756



          any views, arguments, or opinions; and to express at meetings of the labor

          organization his views, upon candidates in an election of the labor organization or

          upon any business properly before the meeting, subject to the organization's

          established and reasonable rules pertaining to the conduct of meetings.” (29 U.S.C.

          §411 (a)(2)).

    40.   Ross made multiple public announcements, beginning the day he took office on

          April 1, 2016, against a proposed merger of the two unions: AFA and APFA. The

          union took adversary action and implemented discipline against Ross.                Ross

          suffered a substantial amount of damages a result of the disciplinary measures

          taken. He has been fined for $62,558.75, he has been forced to step down from his

          position as a Board of Director’s member, and he has been barred from holding

          hold any elected union position for life. and the subsequent public announcements

          of the discipline, including damage to his credit report, his reputation, and costs of

          the arbitration.

              VII.    CLAIM: BREACH OF UNION CONSITUTION

    41.   Plaintiff incorporates all preceding paragraphs above.

    42.   The APFA Constitution provides in Art. II §3 (C)-(D) provides that all members shall

          have the right to individual privacy, due process and equal representation.

    43.   Defendants, APFA, Hedrick and Harris, violated Plaintiff’s, Ross’s, rights to privacy by

          publicizing and disparaging him regarding debts that he owed to the union and its

          members. Harris, the APFA National Treasurer, emailed APFA leadership, directors, and

          committee members about Plaintiff’s debt. These emails harassed him publicly over a

          debt in dispute. Further, social media posts to APFA membership were posted by various




                     PLAINTIFF’S FIRST AMENDED COMPLAINT - Page 16 of 22


                                                                                        Exhibit A
Case 4:22-cv-00343-Y Document 75 Filed 02/22/23                 Page 17 of 22 PageID 1757


          members as well as a hotline announcement that marred Plaintiff after the announcement

          of the arbitration award.

    44.   Defendants violated Plaintiff’s due process and equal representation rights intentionally

          when it withheld evidence from the accounting firm that its opinion was that he did not

          owe the debt under his Transition Agreement. APFA further violated due process by

          misrepresenting the facts to Plaintiff and the union BOD and EC to charge and collect

          monies and disparage Plaintiff.

    45.   Defendants violated Plaintiff’s due process rights in denying him access to documentation

          he requested in a subpoena as it never gave him a copy of the Confidential Memo.

    46.   Defendants denied Plaintiff proper notice as required prior to charging him with

          Article VII charges.

    47.   The APFA Constitution Art. VII, Sec. 2 provides that charges must be brought

          within 60-days after a member knows or should have known of the charges that are

          filed. APFA denied Ross his due process rights by allowing his charges to move

          forward and finding them timely-filed despite evidence and testimony in the

          opening statement that these two members began investigations into Ross in 2019,

          well over 12 months prior to filing Article VII charges against him.

       VIII. CLAIM: VIOLATIONS OF FAIR CREDIT REPORTING ACT

    48.   Plaintiff incorporates all preceding paragraphs above.

    49.   Defendants, Diversified Credit and APFA, published to credit reporting agencies

          that Plaintiff was in collections on $5,436.47. Ross discovered this when he was

          refinancing his home and attempting to get a lower interest rate as well as taking

          out a loan to assist in funding his children’s college education. Ross disputed this

          credit reporting in writing. After researching the debt, Diversified responded with


                     PLAINTIFF’S FIRST AMENDED COMPLAINT - Page 17 of 22


                                                                                     Exhibit A
Case 4:22-cv-00343-Y Document 75 Filed 02/22/23               Page 18 of 22 PageID 1758



          a verification of the debt, which included the demand letter from APFA National

          Treasurer, Harris. However, the Plaintiff’s original petition proves that Diversified

          had a copy of the Confidential Memo in its possession at the time and clearly did

          not conduct a thorough investigation of the debt as it continued to collect the debt.

          APFA was the original creditor of the debt and knowingly furnished inaccurate and

          false information to Diversified that Ross owed a debt under the Transition

          Agreement despite having been informed by the accounting firm that he did not

          owe this debt. APFA and Erik Harris acting intentionally and knowingly when it

          gave Diversified the incorrect address to prevent any initial contact letter from

          reaching Ross and giving him the opportunity to dispute the debt to prevent any

          credit reporting. Harris was aware that this would mar Ross’s credit report at a time

          when his two children were applying for college and subsequent financial aid.

          Therefore, APFA, and its officers owe Ross for furnishing this information to

          Diversified for violations under the Fair Credit Reporting Act.

    50.   The Fair Credit Reporting Act 15 U.S.C. 1681s-2 (a)(1)(A) and (B) creates a duty

          for all furnishers of information, like Diversified to Ross, that “A person shall not

          furnish any information relating to a consumer to any consumer reporting agency

          if the person knows or has reasonable cause to believe that the information is

          inaccurate.”   Clearly Diversified breached this duty in reporting even after

          receiving a dispute in writing from Ross. The failure to investigate after his

          complaint and therefore, reporting information it should have known was

          inaccurate resulted in substantial refinance damages of $400,000, plus the

          associated costs and attorney’s fees.



                    PLAINTIFF’S FIRST AMENDED COMPLAINT - Page 18 of 22


                                                                                Exhibit A
Case 4:22-cv-00343-Y Document 75 Filed 02/22/23                Page 19 of 22 PageID 1759



   IX.    CLAIM: BREACH OF CONTRACT/EMPLOYMENT CONTRACT

    51.   Plaintiff incorporates all preceding paragraphs above.

    52.   Plaintiff, Ross, provided valuable services to Defendant, APFA, by working as

          a National President for Defendant. A Transition Agreement was drafted by

          APFA counsel and signed by all APFA BOD as well as Defendant, Ross on

          March 1, 2018 creating a valid and binding contract (“Transition

          Agreement”).

    53.   Plaintiff provided these services as a National President for Defendant.

    54.   Defendant accepted these services.

    55.   Defendant failed to maintain its obligations of confidentiality under the

          Transition Agreement when it revealed the terms of the transition agreement

          to Chinery-Burns and Lee, as well as others in the APFA membership.

    56.   Defendant failed to maintain its obligation of non-disparagement under the

          Transition Agreement when it allowed Hedrick, Harris, and Chinery-Burns

          continually publish false or disparaging comments about Plaintiff, causing

          reputational and emotional damages to him and his family.

    57.   Defendant failed to pay the full amount due and owing under the Transition

          Agreement as the calculations per the Confidential Memo provided to the

          APFA BOD clearly exhibits the opinion of APFA’s own accountant that the

          calculation of the per diem rate and payments were accurate.

    58.   Defendant suffered damages to his career and future income-based on the

          reputational harm suffered in violation of the nondisparagement clause under his

          Transition Agreement.



                     PLAINTIFF’S FIRST AMENDED COMPLAINT - Page 19 of 22


                                                                             Exhibit A
 Case 4:22-cv-00343-Y Document 75 Filed 02/22/23                 Page 20 of 22 PageID 1760



      59.   Defendant failed to pay Plaintiff for all of his Sick Days under the Transition

            Agreement, at the per diem rate including MEA/SAF stipends as intended in

            the Transition Agreement, the costs and expenses he incurred for arbitration

            proceedings, his reimbursable expenses APFA failed to pay him for prior to his

            termination which amount to a total $45,037.40.

X.    CLAIM: FAIR DEBT COLLECTION PRACTICES ACT VIOLATIONS

      60.   Plaintiff incorporates all preceding paragraphs above.

      61.   Defendant, Diversified, violated 15 U.S.C. §§1692 d, e, and f of the Fair Debt

            Collection Practices Act (“FDCPA”), including misrepresentations on the amount,

            the nature, and harassing and/or disparaging comments to the debtor for the

            purposes of abuse.

      62.   Defendant, Diversified, never sent and Initial Contact Letter to Ross and violated

            the FDCPA in his rights to dispute the validity of the debt and prevent credit

            reporting. The damages resulted from unauthorized credit reporting and negative

            credit reporting and collections of the wrong amount at a time when Ross was

            refinancing his home and applying for loans for his children’s college education.

            Consequently, he has suffered extensive damages as a result including the

            additional interest for the loans on his children’s college, the denial of his home

            loan, which is over $500,000 loan, and he has been forced to bring his children

            home from college do to the inability to finance their college education due to the

            Arbitration Award and litigation. His family has suffered extensive damages due

            to fines, and discipline from the union.

     XII.   CLAIM: DEFAMATION, INTENTIONAL INTERFERENCE WITH A


                       PLAINTIFF’S FIRST AMENDED COMPLAINT - Page 20 of 22


                                                                                Exhibit A
Case 4:22-cv-00343-Y Document 75 Filed 02/22/23                Page 21 of 22 PageID 1761



CONTRACT, AND BREACH OF FIDUCIARY DUTY UNDER TEXAS COMMON LAW

    63.   Plaintiff incorporates all preceding paragraphs above.

    64.   Defendants, APFA, Julie Hedrick, and Erik Harris made false statements to a third-

          party regarding debt that Plaintiff, Ross, owed under the Transition Agreement,

          regarding the APFA BOD’s findings and regarding the accounting firm’s

          conclusions about -Plaintiff’s payments under the Transition Agreement that were

          defamatory and false. Based on the elected positions of APFA National President

          and APFA National Treasurer, both Julie Hedrick and Erik Harris had a duty to

          disclose this document and explain the results of the review, and that it was not the

          same as an audit as it did not carry the weight of the accounting firm’s binding

          opinion about overpayment of Ross’s wages.

    65.   Defendants acted with the intent to defame Plaintiff, injure his reputation, and

          remove him from his position within APFA leadership. Furthermore, Defendants

          intentionally and knowingly interfered with Ross’ payment under a contract since

          he hasn’t received full payment for his Sick Days under the contract.

    66.   In so acting, Julie Hedrick and Erik Harris have breached their fiduciary duty to the

          APFA Board of Directors, the Executive Committee, and the APFA membership—

          but most importantly to Ross, a member of APFA in good standing.

    67.   Defendants did, in fact, defame, intentionally interfere with a contract and breach

          of Plaintiff’s fiduciary duty to Ross as a member in good standing by causing

          damages, injuring his reputation, causing him to terminate his position from APFA

          leadership and causing great emotional distress to Plaintiff as a result.

                           CONCLUSION AND PRAYER



                     PLAINTIFF’S FIRST AMENDED COMPLAINT - Page 21 of 22


                                                                                 Exhibit A
Case 4:22-cv-00343-Y Document 75 Filed 02/22/23                 Page 22 of 22 PageID 1762



     WHEREFORE, PREMISES CONSIDERED, Defendant hereby prays as follows:

              i. For injunctive relief ceasing all unlawful collection activity, unfair labor

                 practices, defamation, breach of privacy, and violations of the non-disparagement

                 clause in Plaintiff’s Transition Agreement.

             ii. That Defendant recover a judgment against Plaintiff, and Defendants, jointly and

                 severally for monetary damages for $1,800,000 for violations plus additional

                 court costs and all attorney’s fees incurred in this cause, and reasonable

                 attorney’s fees.

             iii. That Plaintiff recover a judgment against Defendants jointly and severally for

                 punitive damages; and

             iv. Such other and further relief, at law or in equity, to which Defendant may be

                 justly entitled to receive.

                                           Respectfully submitted,
                                           K.D. PHILLIPS LAW FIRM, PLLC

                                           By: /s/ Kerri Phillips
                                           Kerri Phillips
                                           Texas Bar No. 24065906
                                           Phone: (972) 327-5800
                                           Email: kerri@KDphillipslaw.com
                                           5700 Tennyson Parkway, Suite 300
                                           Plano, Texas 75024
                                           Fax: (940) 400-0089
                                           For Service of Filings:
                                           notice@KDphillipslaw.com
                                           ATTORNEY FOR DEFENDANT




                     PLAINTIFF’S FIRST AMENDED COMPLAINT - Page 22 of 22


                                                                                      Exhibit A
